                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION


GEANE HERRERA

                   Plaintiff,
                       v.
FS INVESTMENTS OF AMERICA INC.,                            Case No. 8:20-cv-02465-CEH-JSS
d/b/a POWERHOUSE AUTOMOTIVE and
FRANKLYN STRUBERG, individually,

                 Defendants.

                   JOINT MOTION FOR APPROVAL OF FLSA
            SETTLEMENT AND INCORPORATED MEMORANDUM OF LAW

       Plaintiff, GEANE HERRERA (“Plaintiff”), and Defendants, FS INVESTMENTS OF

AMERICA INC. d/b/a POWERHOUSE AUTOMOTIVE and FRANKLYN STRUBERG

(“Defendants”) (collectively “the Parties”), jointly request that this Court approve the terms of the

Parties’ settlement of the above-captioned matter and dismissing this case with prejudice. The

Settlement Agreement between Plaintiff and Defendants is attached as Exhibit “A”.

       I.      Legal Principles

       Pursuant to the case law regarding settlement of FLSA claims, there are two ways in which

claims under FLSA can be settled and released by employees. First, 29 USC 216(c) of the FLSA

allows employees to settle and waive their claims under the FLSA if the payment of unpaid wages

by the employer to the employee is supervised by the Secretary of Labor. See 29 U.S.C. 216(c);

Lynn’s Food Store, Inc. v. United States, 679 F.2d 1350, 1353, (11th Cir. 1982). Second, in the

context of a private lawsuit brought by an employee against an employer under section 216(b) of the

FLSA, an employee may settle and release FLSA claims against an employer if the parties present

the district court with a proposed settlement and the district court enters an Order approving the
settlement. Id.; see also Sculte, Inc. v. Gandi, 328 U.S. 108, 66 S.Ct. 925, 928 n. 8, 90 L.Ed. 1114

(1946); Jarrad v. Southeastern Shipbuilding Corp., 163 F.2d 960, 961 (5th Cir. 1947). In detailing

the circumstances justifying court approval of an FLSA settlement in a litigation context, the

Eleventh Circuit stated as follows:

       Settlements may be permissible in the context of a suit brought by employees under
       the FLSA for back wages because initiation of the action by the employees provides
       some assurance of an adversarial context. The employees are likely to be
       represented by an attorney who can protect their rights under the statute. Thus,
       when the parties submit a settlement to the court for approval, the settlement is
       more likely to reflect a reasonable compromise of disputed issues than a mere
       waiver of statutory rights brought by an employer’s overreaching. If a settlement in
       an employee FLSA suit does reflect a reasonable compromise over issues, such as
       FLSA coverage or computation of back wages that are actually in dispute, we allow
       the district court to approve the settlement in order to promote the policy of
       encouraging settlement of litigation.

Lynn’s Food Stores, 679 F.2d at 1354.

       The settlement of the instant action involves a situation in which the Court may approve the

Parties’ settlement to resolve and release Plaintiff’s FLSA claims against Defendants. The proposed

settlement arises out of an action brought by the Plaintiff against his former employer, which was

adversarial in nature.

       The settlement agreement attached to this motion (Exhibit “A”), includes every term and

condition of the Parties’ settlement.

       The Parties agree that the instant action involves disputed issues regarding the Plaintiff’s

claimed unpaid wages and damages potentially available to Plaintiff. The Parties further agree that

settlement negotiated and reached by the Parties reflects a reasonable compromise of the disputed

issues. Plaintiff and Defendants discussed the Plaintiff’s alleged unpaid wages, pay rate, the

applicability of defenses, calculation of damages, coverage, exemption from FLSA and formulated

their own proposed settlement figures. The Parties then engaged in settlement discussions, based
upon their independent calculations. The Parties then voluntarily agreed to the terms of their

settlement at the conclusion of their negotiations.

       II.     Terms of Settlement

       This case involved, a claim for unpaid minimum wages and retaliation, an arose from

Defendants alleged failure to pay Plaintiff commissions on sold vehicles Defendants maintain,

however, that Plaintiff worked for Defendants as an independent contractor, and therefore, he is not

entitled to the minimum wages guaranteed by the FLSA. The Parties had several discussions on

damages and exchanged detailed information concerning the Plaintiff’s status, as well as the

Plaintiff’s pay, hours worked, and records. Given the Parties' respective positions on the issue of

damages and Defendant position that Plaintiff is an independent contractor, the Parties agree that

they would incur great expense litigating these issues. Given the amount claimed, and the possibility

of the Plaintiff recovering nothing the Parties agree that $6,500.00 to Plaintiff is a fair compromise.

As a result, the settlement agreed upon in this matter – total payment of $6,500.00 as full and final

settlement, inclusive of attorneys' fees and costs, is fair and equitable under the teachings of Lynn's

Food Stores.

       The Parties have also agreed that the settlement payment will be apportioned as follows:

   a. $1,000.00 as payment for alleged unpaid wages to Plaintiff;

   b. $1,000.00 as liquidated damages to Plaintiff;

   c. $685.90 payable to Plaintiff’s counsel as advanced costs and filing fees to file the instant

       lawsuit;

   d. $3,814.10 payable to Plaintiff’s counsel as attorney’s fees.

       This result compensates Plaintiff for all alleged unpaid commissions. Plaintiff counsel

stipulates that the attorney’s fees and costs have been negotiated and will be paid separately from
Plaintiff’s recovery. Counsel for Plaintiff further stipulates that the amount recovered in attorney’s

fees and costs is fair and reasonable, and that he accepts this in full satisfaction of the attorney’s fees

and costs incurred on the Plaintiff’s behalf. The Parties further state that there was no undue

influence, overreaching, collusion or intimidation in reaching the settlement agreement, and in fact,

Plaintiff has indicated a strong desire to resolve this issue and concentrate his efforts on his new

employment without the distraction of pending litigation and its attendant obligations. Moreover,

the Agreement guarantees Plaintiff payment before the upcoming holidays, pending the Court’s

approval of the Settlement. The Parties, through their attorneys, voluntarily agreed to the terms of

their settlement during negotiations. All Parties were counseled and represented by their respective

attorneys throughout the litigation and settlement process.

        III.    Conclusion

        For all the foregoing reasons, the Parties jointly and respectfully request that this Court

approve the settlement between the Parties, and dismiss the instant action with prejudice, while

reserving jurisdiction for thirty days to enforce the terms of the Settlement in the unlikely event

that becomes necessary.


Respectfully submitted,

 s/ Julisse Jimenez                                  s/MIGUEL BOUSAS ESQ.
 Julisse Jimenez                                     Miguel Bousas, ESQ.
 (FBN: 65387)                                        (FBN: 48943)
 E-mail: Julisse@saenzanderson.com                   E-Mail: miguel@fgbolaw.com
 1111 Brickell Avenue Suite 1550                     16524 Pointe Village Drive, Suite 100
 Miami, FL 3313                                      Lutz, FL 33558
 Counsel for Defendants                              Counsel for Plaintiff
Exhibit “A”
